          Case 4:18-cv-06810-JST Document 8-8 Filed 11/09/18 Page 1 of 4




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                                    UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA

12   East Bay Sanctuary Covenant; Al Otro Lado;
     Innovation Law Lab; and Central American               Case No.: 18-cv-06810
13   Resource Center in Los Angeles,

14                  Plaintiffs,
                                                            [PROPOSED ] TEMPORARY
15                  v.                                      RESTRAINING ORDER

16   Donald J. Trump, President of the United States, in    [IMMIGRATION ACTION]
     his official capacity; Matthew G. Whitaker, Acting
17   Attorney General, in his official capacity; U.S.
     Department of Justice; James McHenry, Director
18   of the Executive Office for Immigration Review,
     in his official capacity; the Executive Office for
19   Immigration Review; Kirstjen M. Nielsen,
     Secretary of Homeland Security, in her official
20   capacity; U.S. Department of Homeland Security;
     Lee Francis Cissna, Director of the U.S.
21   Citizenship and Immigration Services, in his
     official capacity; U.S. Citizenship and
22   Immigration Services; Kevin K. McAleenan,
     Commissioner of U.S. Customs and Border
23   Protection, in his official capacity; U.S. Customs
     and Border Protection; Ronald D. Vitiello, Acting
24   Director of Immigration and Customs
     Enforcement, in his official capacity; Immigration
25   and Customs Enforcement,

26                  Defendants.

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           Case 4:18-cv-06810-JST Document 8-8 Filed 11/09/18 Page 2 of 4




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     **Application for admission forthcoming
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           Case 4:18-cv-06810-JST Document 8-8 Filed 11/09/18 Page 3 of 4




 1          Plaintiffs’ application for a Temporary Restraining Order came before this Court for

 2   consideration on November __, 2018. Upon consideration of the application, and for good cause
 3
     shown, IT IS HEREBY ORDERED as follows:
 4
                                        Temporary Restraining Order
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            The Court finds that Plaintiffs have demonstrated a substantial likelihood of success on the
 6
     merits of their claims that Defendants’ Interim Final Rule of November 8, 2018, and Presidential
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 8   Proclamation of November 9, 2018, are in violation of (1) the Immigration and Nationality Act, and

 9   (2) the Administrative Procedure Act. The Court further finds that Defendants’ conduct as alleged
10   above has caused and, absent the requested relief, will continue to cause irreparable harm to
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     Plaintiffs. The balance of hardships tips sharply in Plaintiffs’ favor, and the public interest will be
12
     served by the injunction.
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            Accordingly, IT IS HEREBY ORDERED that, pending a hearing on whether a preliminary
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15   injunction should issue, Defendants Donald J. Trump, President of the United States, in his official

16   capacity; Matthew G. Whitaker, Acting Attorney General, in his official capacity; U.S. Department

17   of Justice; James McHenry, Director of the Executive Office for Immigration Review, in his official
18   capacity; the Executive Office for Immigration Review; Kirstjen M. Nielsen, Secretary of Homeland
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     Security, in her official capacity; U.S. Department of Homeland Security; Lee Francis Cissna,
20
     Director of the U.S. Citizenship and Immigration Services, in his official capacity; U.S. Citizenship
21
     and Immigration Services; Kevin K. McAleenan, Commissioner of U.S. Customs and Border
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23   Protection, in his official capacity; U.S. Customs and Border Protection; Ronald D. Vitiello, Acting

24   Director of Immigration and Customs Enforcement, in his official capacity; and Immigration and

25   Customs Enforcement, and all persons acting under their direction, are enjoined from implementing
26
     or enforcing the Interim Final Rule and Presidential Proclamation.
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                                                  1
                           [PROPOSED] TEMPORARY RESTRAINING ORDER
                                       Case No. 3:18-cv-06810
          Case 4:18-cv-06810-JST Document 8-8 Filed 11/09/18 Page 4 of 4




 1                                         Order to Show Cause

 2          Defendants are ordered to show cause before this Court why a preliminary injunction should
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     not issue enjoining Defendants and their agents from implementing or enforcing the Interim Final
 4
     Rule and Presidential Proclamation. The hearing on the order to show cause will be held on
 5
     _________________ at ____________________.
 6

 7   Plaintiffs’ moving papers shall be filed and served on or before ________________________.
 8   Defendants’ opposition papers shall be filed and served on or before _______________________.
 9   Plaintiffs’ reply papers shall be filed and served on or before ________________________.
10   Issued this ____ day of ________________________, 2018.
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14                                                              United States District Judge
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                         [PROPOSED] TEMPORARY RESTRAINING ORDER
                                     Case No. 3:18-cv-06810
